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 1                                                         THE HONORABLE RICHARD A. JONES
 2

 3

 4                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 5                                         AT SEATTLE

 6
     ABDIQAFAR WAGAFE, et al., on behalf                 No. 2:17-cv-00094-RAJ
 7   of themselves and others similarly situated,
                                                         PLAINTIFFS’ MOTION TO COMPEL
 8                           Plaintiffs,                 STATISTICAL DATA UNDER FED R.
                                                         CIV. P. 37(a)(3)
 9           v.
                                                         NOTE ON MOTION CALENDAR:
10   DONALD TRUMP, President of the                      October 30, 2020
     United States, et al.,
11
                             Defendants.                  Redacted Version
12

13
             Pursuant to Federal Rule of Civil Procedure 37(a)(3), Plaintiffs respectfully request that
14
     the Court order Defendants to produce certain statistical data that they improperly have withheld
15
     from Plaintiffs. At the Rule 30(b)(6) deposition of Defendant USCIS on August 31, 2020,
16
     Plaintiffs learned for the first time that the statistical data that Defendants intend to rely on in this
17
     case uses an overbroad and inaccurate definition of a “CARRP case”
18
                                            . USCIS confirmed at the deposition that the definition of a
19
     “CARRP case” used in the data includes cases
20

21
                                                                      . Although Defendants and their
22
     witnesses have represented that applicants in those categories should not be subjected to
23
     CARRP, Defendants have mislabeled them as “CARRP cases” in the data. And, even though
24
     applicants in those categories likely comprise                     of the “CARRP cases” in the data,
25
     USCIS intends to rely on this very inaccurate data—and has already relied on it—to argue both
26

      MOTION TO COMPEL STATISTICAL DATA                                             Perkins Coie LLP
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 1   that the delays and denial rates of CARRP cases are not as significant when compared to non-
 2   CARRP cases.
 3            At the recent deposition, USCIS also acknowledged that its Fraud Detection and National
 4   Security Data System (“FDNS-DS”) database contains certain
 5   fields that would allow the Court and the parties to have a correct understanding of what cases
 6   are in fact “CARRP cases” and the impact of CARRP on their adjudication. Those fields—
 7   including                                                                               —would allow the
 8   parties to remove applicants in these categories when calculating processing times and denial
 9   rates for CARRP cases. This is critical, for example, because the
10               category of cases reflect cases no longer subject to CARRP. So, without an ability to
11   disaggregate these cases from the data, the data cannot accurately show how CARRP impacts
12   approval and denial rates at the point of adjudication. The requested fields, therefore, go to the
13   heart of Plaintiffs’ case. Without this crucial information, Plaintiffs and the Court will not have
14   an accurate assessment of the extent of the significant harm caused by CARRP: USCIS’s lengthy
15   delays in adjudicating naturalization and adjustment of status applications subjected to CARRP
16   and the higher rate of denials of those applications.
17            Pursuant to Rule 26(e), Defendants “must supplement or correct [their] disclosure or
18   [discovery] response” if “in some material respect the disclosure or response is incomplete or
19   incorrect” or “as ordered by the court.” The Court should, therefore, order Defendants to produce
20   the requested                                             fields to Plaintiffs both as a supplement to their
21   disclosures under Rule 26(a) and as responsive to Plaintiffs’ many discovery requests seeking
22   CARRP-related statistical data.1
23
     1
      At the Rule 30(b)(6) deposition, USCIS also disclosed for the first time that Defendants unilaterally changed the
24                                                                      without informing Plaintiffs. Ahmed Decl. ¶ 5.
     USCIS admitted that it used a                                                in the statistical data produced to
25   Plaintiffs in response to Interrogatory No. 3 in October 2018. Id. USCIS further admitted that
                                                                                             Id. Plaintiffs requested that
26   Defendants produce an updated version of the Interrogatory No. 3 data, but Defendants refused. Id. Pursuant to Rule
     26(e), Defendants are also required to “correct” and re-produce the Interrogatory No. 3 data. On October 9, 2020,
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 1                                          BACKGROUND
 2   A.       In Discovery, Plaintiffs Requested and Defendants Produced Statistical Data
              Regarding the Processing Times and Denial Rates of CARRP Cases.
 3
              On August 1, 2017, Plaintiffs served their First Requests for Production to Defendants,
 4
     which included RFP Nos. 27, 28 and 33. Ahmed Decl. Ex. A. RFP. No 27 requests: “All
 5
     Documents referring or relating to the number of Immigration Benefit Applications subject to
 6
     CARRP” including “data[] or statistics related to CARRP.” Id. at 16. RFP No. 28 requests: “All
 7
     Documents referring to, relating to, or reflecting … demographics of Immigration Benefit
 8
     Applicants who have been … subjected to CARRP, including application processing times.” Id.
 9
     RFP No. 33 requests: “All Documents that any Defendant contends support any affirmative
10
     defense set forth in response to the Second Amended Complaint.” Id. at 18. On September 5,
11
     2017, Defendants responded that they would produce responsive documents to these RFPs.
12
     Ahmed Decl. Ex. B at 46-48.
13
              On August 24, 2018, Plaintiffs served their Fifth Requests for Production and Third
14
     Interrogatories to Defendants, which included Interrogatory No. 3. Ahmed Decl. Ex. C.
15
     Interrogatory No. 3 requests certain CARRP-related information, including “[t]he total number
16
     of applications referred into CARRP” and the median and average processing times and denial
17
     rates at various stages in the CARRP process. Id. at 10-11. In RFP Nos. 50 and 51, Plaintiffs also
18
     requested documents “sufficient to demonstrate the basis for and confirm the accuracy of
19
     [Defendants’] response to Interrogatory No. 3” and “used by [Defendants] as the source of any of
20
     the information set forth in [their] response to Interrogatory No. 3.” Id. at 12. On October 16,
21
     2018, Defendants produced to Plaintiffs an Excel spreadsheet with some of the statistical data
22
     requested by Plaintiffs in Interrogatory No. 3. Ahmed Decl. Ex. D.
23

24

25
     Defendants produced the underlying dataset used to respond to Interrogatory No. 3. Id. ¶ 6. Because the underlying
26   dataset may address Plaintiffs’ concerns regarding the Interrogatory No. 3 data, at this time Plaintiffs do not move to
     compel Defendants to correct and re-produce that data but reserve the right to in the future. Id.
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 1          On July 26, 2019, Defendants served Plaintiffs their First Set of Supplemental Initial
 2   Disclosures. As part of those disclosures, Defendants included “USCIS data and/or data
 3   summaries/compilations … regarding the receipt of immigration benefit applications for
 4   naturalization or adjustment of status and whether such applications were processed under
 5   CARRP or not, adjudication information for applications adjudicated following referral to
 6   CARRP and for cases adjudicated without referral to CARRP, and processing times for
 7   adjudication of applications handled under the CARRP process and applications not handled
 8   under the CARRP process.” Ahmed Decl. Ex. E at 11-12. On that same date, Defendants
 9   produced “an Excel spreadsheet with multiple tabs summarizing/compiling this data.” Id. at 12
10   (hereinafter the “USCIS Summary Data”).
11          Defendants subsequently provided updated versions of the USCIS Summary Data on
12   November 29, 2019 and February 14, 2020. Ahmed Decl. Ex. F (Defendants’ Third Set of
13   Supplemental Initial Disclosures); Ex. G (E-mail from Leon Taranto dated 2/14/2020). On
14   November 22, 2019, Defendants acknowledged that the USCIS Summary Data was also
15   responsive to RFP Nos. 27 and 28. Ahmed Decl. Ex. H at 17-21 (noting that the requested
16   information in RFP Nos. 27 and 28 is “the same or similar to information contained in … the
17   CARRP-related statistics provided to Plaintiffs in Defendants’ Supplemental Initial
18   Disclosures”). The parties’ statistical experts Mr. Sean Kruskol and Dr. Bernard Siskin relied on
19   the February 14, 2020 version of the USCIS Summary Data when serving their initial expert
20   reports on February 28, 2020.
21   B.     Defendants Notified Plaintiffs of an Error in the Statistical Data, Produced A New
            Version of the Data, and Permitted Plaintiffs to Take a Rule 30(b)(6) Deposition.
22
            On May 15, 2020, Defendants notified Plaintiffs that they had identified an error in the
23
     USCIS Summary Data. Ahmed Decl. Ex. I (E-mail from Leon Taranto dated 5/15/20). Because
24
     of that error, on June 12, 2020 Defendants produced another version of the USCIS Summary
25
     Data and an anonymized version of the underlying dataset used to create the USCIS Summary
26

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 1   Data (hereinafter the “USCIS Detailed Data”). Ahmed Decl. Ex. J (E-mail from Leon Taranto
 2   dated 6/12/20).
 3          Defendants also agreed that it was appropriate that Plaintiffs be permitted to explore
 4   questions about the data through a Rule 30(b)(6) deposition. The parties agreed that the Rule
 5   30(b)(6) deposition would cover the following topic: “How USCIS defines and measures
 6   categories of information in the new tables and underlying dataset” including “what constitutes a
 7   CARRP case, as reflected in the data?” Ahmed Decl. Ex. K at 14.
 8   C.     At the Rule 30(b)(6) Deposition, USCIS Disclosed That Defendants Relied on an
            Overbroad and Inaccurate Definition of a CARRP Case in the Statistical Data.
 9
            The Rule 30(b)(6) deposition on the statistical data occurred on August 31, 2020. At the
10
     deposition, USCIS disclosed that it does not
11
                                . Ahmed Decl. Ex. L at 101-102, 108. Instead, USCIS disclosed for
12
     the first time that the USCIS Summary Data relied on                                            . Id.
13
     at 98-100. This                                                                  in consultation
14
     with USCIS counsel. Id. at 101. According to the
15

16
                                     , that application would be identified as CARRP. Id. at 103:8-12.
17
            According to the FDNS-DS User Guide, an
18
19
                                                                          Ahmed Decl. Ex. M at 85
20
     (emphasis added). USCIS acknowledged
21

22
               Ahmed Decl. Ex. L at 126. The user guide also states that
23
                                                                                     Ahmed Decl. Ex.
24
     M at 450; see also id. at 451
25
                                                                                At the deposition,
26

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 1   USCIS confirmed that
 2   Ahmed Decl. Ex. L at 129.
 3          The FDNS-DS database contains
 4                                     Ahmed Decl. Ex. M at 453. These
 5                                                                                                 Id. at
 6   454. USCIS confirmed that, according to
 7                                                                                                 Ahmed
 8   Decl. Ex. L at 150. Although Defendants have represented that an “application is handled
 9   pursuant to CARRP” only “if an application presents an articulable link to a national security
10   concern,” Dkt. 74 at 20, this means Defendants’
11                                                                                             , Ahmed
12   Decl. Ex. M at 454. USCIS also confirmed that, according to
13

14                           Ahmed Decl. Ex. L at 150. This means Defendants’
15

16                            Ahmed Decl. Ex. M at 454. Defendants’ witnesses have testified that
17   when an applicant’s                                     , their case is not a CARRP case. See,
18   e.g., Ahmed Decl. Ex. N at 102 (Cook Dep.)
19                      ; id. at 181
20

21          The FDNS-DS database also contains three
22              Id. An applicant is identified as
23

24                Id. at 490-91. USCIS confirmed that, according to its
25
26               Ahmed Decl. Ex. L at 155. Defendants’ witnesses have testified that when an

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 1   applicant’s                          , their case is not a CARRP case. See, e.g., Ahmed Decl. Ex.
 2   O at 87 (Quinn Dep.) (explaining that
 3

 4                  ); Ahmed Decl. Ex. P at 225 (30(b)(6) Dep.)
 5

 6                                                                  ).
 7   D.     Defendants Have Refused to Supplement or Correct the Statistical Data in
            Accordance with Fed. R. Civ. P. 26.
 8
            Because the Rule 30(b)(6) deposition confirmed that Defendants had previously produced
 9
     inaccurate and misleading statistical data, Plaintiffs requested that Defendants produce additional
10
     data to ensure the parties and the Court have a more accurate understanding of what cases should
11
     be labeled as “CARRP cases” according to the data. Specifically, Plaintiffs requested that
12
     Defendants produce an updated version of the USCIS Detailed Data to include fields for the
13
                                             . Ahmed Decl. Ex. L at 213-14. USCIS has confirmed that
14
     it could update this data as requested. Id. at 151, 156. On September 21, 2020, Plaintiffs’ expert
15
     Mr. Kruskol issues his Second Supplemental Expert Report. Mr. Kruskol stated that if he
16
                                                                                           , [he] would
17
     be able to calculate mean and median processing times and approval and denial rates for
18
     applications” broken down into those various categories. Ahmed Decl. Ex. Q at 9. To date,
19
     however, Defendants have refused to produce the requested data.
20
                                CERTIFICATION UNDER LCR 37(A)(1)
21
            Pursuant to LCR 37(a)(1), Plaintiffs have in good faith conferred with Defendants in an
22
     effort to resolve this dispute without court action. Plaintiffs have discussed this dispute with
23
     Defendants on many occasions in September and October 2020. Ahmed Decl. Ex. R. On October
24
     5, 2020, the parties held a telephonic meet and confer regarding this dispute, and Defendants
25
     have continued to refuse to produce the requested data. Id. ¶ 4.
26

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 1                                              ARGUMENT
 2   A.     Legal Standard
 3          A party “must supplement or correct its disclosure or [discovery] response” if “in some
 4   material respect the disclosure or response is incomplete or incorrect,” “if the additional or
 5   corrective information has not otherwise been made known to the other parties during the
 6   discovery process” or “as ordered by the court.” Fed. R. Civ. P. 26(e)(1)(A)-(B). The obligation
 7   to “supplement disclosures and discovery responses applies whenever a party learns that its prior
 8   disclosures or responses are in some material respect incomplete or incorrect.” Johnson v. BAE
 9   Sys., Inc., 307 F.R.D. 220, 224 (D.D.C. 2013); see also R & R Sails, Inc. v. Ins. Co. of
10   Pennsylvania, 673 F.3d 1240, 1247 (9th Cir. 2012) (holding that Rule 26(e) required party to
11   “supplement its initial disclosures … after it became evident that the initial disclosures were
12   incomplete”); 6 Moore’s Federal Practice - Civil § 26.131 (2020) (“The duty to supplement and
13   correct disclosures and responses is a continuing duty.”).
14          Pursuant to Rule 37(a)(3)(A), a “party may move to compel disclosure” “[i]f a party fails
15   to make a disclosure required by Rule 26(a).” Pursuant to Rule 37(a)(3)(B), a “party seeking
16   discovery may move for an order compelling … production” if “a party fails to answer an
17   interrogatory submitted under Rule 33” or “to produce documents … as requested under Rule
18   34.” “[A]n evasive or incomplete disclosure, answer, or response must be treated as a failure to
19   disclose, answer, or respond.” Fed. R. Civ. P. 37(a)(4). Moreover, “[i]f a party fails to provide
20   information” as required by Rule 26(e), “the party is not allowed to use that information … to
21   supply evidence on a motion, at a hearing, or at a trial, unless the failure was substantially
22   justified or is harmless.” Fed. R. Civ. P. 37(c)(1); see R & R Sails, 673 F.3d at 1247 (“[I]n the
23   ordinary case, violations of Rule 26 may warrant evidence preclusion.”).
24

25
26

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 1   B.     The Court Should Compel Defendants to Produce the
            Fields for the USCIS Detailed Data.
 2
            Defendants should be compelled to produce the                                    fields in
 3
     the USCIS Detailed Data because, without those fields, the USCIS Summary Data relies on a
 4
     definition of a CARRP case that “is incomplete or incorrect” and information from those fields
 5
     “has not otherwise been made known to [Plaintiffs] during the discovery process.” Fed. R. Civ.
 6
     P. 26(e)(1)(A). Defendants produced the data as a disclosure under Rule 26(a), and, therefore,
 7
     “must supplement or correct [that] disclosure” under Rule 26(e). See, e.g., El Paso Area
 8
     Teachers Fed. Credit Union v. Cumis Ins. Soc’y, Inc., No. EP-16-cv-0020, 2017 WL 5171857, at
 9
     *3 (W.D. Tex. Mar. 8, 2017) (requiring party to supplement disclosures when it failed to provide
10
     all relevant information “regarding its claims or defenses … and no discovery request was
11
     required to obtain them”); Krout v. New Albertson’s, Inc., No. 2:07-cv-01685, 2009 WL
12
     10693220, at *2 (D. Nev. Mar. 20, 2009) (granting motion to compel where party had provided
13
     incomplete data as part of their Rule 26(a) disclosures).
14
            Even if that were not the case, the data and the requested
15
     fields are also responsive to RFPs No. 27, 28, 33, 50, and 51, and Interrogatory No. 3 because
16
     they include: “statistics related to CARRP” (RFP No. 27); “application processing times” of
17
     individuals subjected to CARRP (RFP No. 28); information “Defendant[s] contend[] support any
18
     affirmative defense” (RFP No. 33); “median and average processing times and denial rates at
19
     various stages in the CARRP process” (Interrogatory No. 3); information to “confirm the
20
     accuracy of [Defendants’] response to Interrogatory No. 3” (RFP No. 50); and information used
21
     “as the source of any of the information set forth in [Defendants’] response to Interrogatory No.
22
     3” (RFP No. 51). Ahmed Decl. Exs. A, C. Indeed, even Defendants admit that the data is
23
     responsive to at least RFP Nos. 27 and 28. See Ahmed Decl. Ex. H (stating that “the same or
24
     similar to information” responsive to RFP Nos. 27 and 28 was produced in the USCIS Summary
25
26   Data). Therefore, Defendants also “must supplement or correct [their] response” to these


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 1   discovery requests to include the requested data. Fed. R. Civ. P. 26(e); see Jones v. Travelers
 2   Cas. Ins. Co. of Am., 304 F.R.D. 677, 681 (N.D. Cal. 2015) (“Defendant had an obligation to
 3   timely supplement Defendant’s response to Plaintiffs’ requests for production with [the
 4   requested spreadsheets], or the data underlying those spreadsheets”); 6 Moore’s Federal Practice
 5   - Civil § 26.131 (“[T]he duty to supplement … appl[ies] to responsive documents that are created
 6   after a party has served a response to a discovery request.”).
 7          Because                                                                   , Defendants created
 8   their own overbroad and incorrect definition of CARRP cases                                               .
 9   Ahmed Decl. Ex. L at 101-102, 108. That definition improperly includes two categories of
10   applicants that Defendants have previously represented are not subjected to CARRP. First, the
11   USCIS Summary Data improperly includes cases as CARRP cases even where
12                                                                . Ahmed Decl. Ex. M at 454. This is in
13   direct conflict with Defendants’ position elsewhere in this case where they admit that
14   “[a]ccording to the CARRP definition, a national security concern arises when an individual or
15   organization has been determined to have an articulable link” to a national security concern, and
16   an “application is handled pursuant to CARRP” only “if an application presents an articulable
17   link to a national security concern.” Dkt. 74 at 20.
18          Second, the USCIS Summary Data improperly includes cases as CARRP cases even
19   when the applicant
20                                                                       . Ahmed Decl. Ex. M at 490-91.
21   This is in direct conflict with Defendants’ position elsewhere in this case that such applications
22   are                                                                                              . See,
23   e.g., Ahmed Decl. Ex. N at 181 (Cook Dep.) (admitting that such cases
24                                                               ); Ahmed Decl. Ex. O at 87 (Quinn Dep.)
25   (such applications are
26                                                          ).

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 1            By improperly including these two categories of applications as “CARRP cases,”
 2   Defendants have improperly skewed the USCIS Summary Data, including the processing times
 3   and approval rates of applications purportedly subjected to CARRP. And because USCIS either
 4                                                                              or
 5                                                        , applicants who fall into these categories
 6   likely have higher approval rates and shorter processing times than applicants whose alleged
 7                                                       . Therefore, it appears that Defendants
 8   purposefully included these applicants as CARRP cases in the USCIS Summary Data to mislead
 9   Plaintiffs and the Court that the processing times for actual CARRP cases are shorter, and
10   approval rates are higher, than they actually are. Indeed, Defendants have already misleadingly
11   relied on this incorrect data in an attempt to convince the Court that the harm caused by CARRP
12   is not as serious as Plaintiffs contend. See Dkt. 383 at 5 (relying on incorrect USCIS Summary
13   Data to contend that “over 80% of adjustment of status and naturalization applications
14   adjudicated after referral to CARRP are approved rather than denied”).
15            The only way for the parties and the Court to have an accurate understanding of what
16   cases should be included in the data as CARRP cases is if Defendants produce the
17                   fields requested by Plaintiffs. Because those fields separate the cases into
18   categories including                                                                     the parties’
19   statistical experts can exclude those cases when calculating updated processing times and
20   approval rates. See Ahmed Decl. Ex. Q at 9 (Plaintiffs’ expert Mr. Kruskol stating that if he
21   “
22

23

24

25
26                 ”).

         MOTION TO COMPEL STATISTICAL DATA                                       Perkins Coie LLP
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 1           The burden on Defendants to re-produce the USCIS Detailed Data with the
 2                        fields is minimal. At the Rule 30(b)(6) deposition, USCIS admitted that it
 3   could update the data to include these fields and identified no burden in doing so. Ahmed Decl.
 4   Ex. L at 151, 156. Defendants may also argue that Plaintiffs’ request for this information is
 5   untimely. That is incorrect. Before the Rule 30(b)(6) deposition on August 31, 2020, Plaintiffs
 6   did not know how the data defined a CARRP case. As soon as Plaintiffs understood that the data
 7   relied on an overbroad and incorrect definition                                                     ,
 8   they requested the                                  fields at the deposition itself and in subsequent
 9   correspondence, but Defendants have refused to provide it.
10           The requested data goes to the heart of Plaintiffs’ case. Without it, Plaintiffs (and the
11   Court) will not accurately understand the extent of the significant harm caused by CARRP: the
12   lengthier delays and higher rate of denials of applications subjected to CARRP. Moreover, the
13   extent of Defendants’ error is significant. It is likely that                of cases that
14   Defendants have identified as “CARRP cases” in the USCIS Summary Data have been
15   misidentified. For example, in other data produced to Plaintiffs,
16   purportedly subjected to CARRP were determined to be                           . Ahmed Decl. Ex. Q
17   at 7; see also Ex. N at 104                                                            ). Therefore,
18   the Court should order Defendants to produce the requested data. See Richardson v. Union Oil
19   Co. of California, 167 F.R.D. 1, 5 (D.D.C. 1996) (granting Rule 37 motion where Plaintiff
20   “would have been seriously (if not fatally) weakened by the incomplete and inaccurate data
21   submitted by Defendant”). If Defendants contend that they somehow cannot produce the
22   requested data, then the Court should prevent Defendants from using any of the USCIS
23   Summary Data “to supply evidence on a motion, at a hearing, or at a trial.” Rule 37(c)(1).
24
                                                CONCLUSION
25
             Plaintiffs respectfully request that the Court grant their motion to compel.
26

      MOTION TO COMPEL STATISTICAL DATA                                           Perkins Coie LLP
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 1                                                  DATED: October 15, 2020
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 2                                                  s/ Harry H. Schneider, Jr.
     s/ Jennifer Pasquarella                        s/ Nicholas P. Gellert
 3   Jennifer Pasquarella (admitted pro hac vice)   s/ David A. Perez
     ACLU Foundation of Southern California         s/ Heath L. Hyatt__________
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